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                                                                                                 e-filing

               16-00260
             UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA


                                 SAN JOSE DIVISION
                      THE UNITED STATES OF AMERIj&A.
                                                vs.

                                                                            JUHu
                                                                               ' ^ 2018
                                 NAHEED MANGI




                                      INDICTMENT

COUNT ONE: (18 U.S.C. §§ 1030(a)(5)(AX (c)(4)(B)(i), & (c)(4)(A)(i)(I) - Intentional Damage to a
Protected Computer)

COUNT TWO: (18 U.S.C. §§ 1030(a)(5)(A), (c)(4)(B)(i), & (c)(4)(A)(i)(II) - Intentional Damage to a
Protected Computer

COUNT THREE: (18 U.S.C. § 1030(a)(2)(C) - Accessing a Protected Computer Without
Authorization and Obtaining Information) (Class A Misdemeanor)

A true bill.

                                                                           eperson




                            Filed in opm^urt
                            A.D. 201^
                                                                 ited States Magistrate Judge



       Bail. $ AA (kmS                                                                     AO.   ~7n
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